AU 24J (Rev. 09/17)

                        MOTION UNDER 28 U.S.C. ~ 2255 TO VACATE, SET ASIDE, OR CORRECT
                                          SENTENCE BY A PERSON IN FEDERAL CUSTODY

United States District Court                                    I District   Maryland
Name (under which YOIl were convicted):                                                                 Docket or Case No.:
  David Dwavne Rudolph                                                                                   TDC 8:14-CR-0569-001
Place of Confinement:                                                               Prisoner No.:
                                                                                                        lOt.          laOv8.q~
 FCI Petersburg Low                                                                  58439-037
UNITED STATES OF AMERICA                                                          Movant   (include name under which com.icled)
                                                           V.       David Dwayne Rudolph


                                                              MOTION

     I.   (a) Name and location of court which entered the judgment of conviction you are challenging: _
                                                                                             ~
          U.S. District Court                                                               ~             ~
          District of Maryland                                                                           - •                        . ,~
          Greenbelt, MD                                                                          MAR 2                                   CfM.!'l
          ---------------------~5~-201g_
          (b) Criminal docket or case number (if you know):          TDC 8:14-CR-0569-001                    ":.;   A;~'l<:

                                                                                                               ~~r
    2.    (a) Date of the judgment of conviction (if you know): 3/16/2015
                                                                                                                       "" ...""   ~'"
          (b) Date of sentencing: _3~/_16_/_2_0_15                                                                                   _

    3.    Length of sentence: =28=8=m=0~n=th=s~                                                                                          _

    4.    Nature of crime (all counts):
          Count 1: 21 U.S.C !j841(a)(1), 21 U.S.C !j841(b)(1)(A) - Possession with Intent to Distribute Controlled
                                                                   Substances

          Count 2: 18 U.S.C 9922:9 .1), 18 U.S.C !j841(b)(1)(A),- Felon in Possession of a Firearm
                   18 U.S.C 9924(e):1)



    5.    (a) What was your plea? (Check one)
               (I) Not guilty D                         (2) Guilty      W                  (3) Nolo contendere (no contest) D

    6.    (b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment,
           what did you plead guilty to and what did you plead not guilty to?




    6.     If you went to trial, what kind of trial did you have? (Check one)                    JuryD                JudgeonlyW

    7.     Did you testify at a pretrial hearing, trial, or post-trial hearing?        YcsD                           NoW


                                                                                                                                   Page 2 of 13
AO 243 (Rev. 09117)

    8.     Did you appeal from the judgment of conviction?           Yes   0
     9.    If you did appeal, answcr the following:
           (a) Name of court:
           (b) Docket or case number (if you know):
           (c) Result:
           (d) Date of result (if you know):                                                                                 _
           (e) Citation to the case (if you know):
           (f) Grounds raised:




           (g) Did you file a petition for certiorari in the United States Supreme Court?      Yes D             No[Zj
                 If"Yes," answer the following:
                 (I) Docket or case number (if you know): -------------------------
                 (2) Result:                                                                                                  _


                 (3) Date of result (if you know):
                 (4) Citation to the case (if you know):
                 (5) Grounds raised:




   10.     Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
           concerning this ju~ent    of conviction in any court?
             YesD          NoW

    I I.   If your answer to Question 10 was "Yes," give the following information:
           (a) (I) Name of court:
                (2) Docket or case number (if you know):
                (3) Date of filing (if you know):
                                                     ----------------------------



                                                                                                                      Page 3 of 13
AO 243 (Rev. 09/17)

              (4) Nature of the proceeding:
              (5) Grounds raised:




              (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                         YesD            NoD
              (7) Result:
                             ------------------------------------
              (8) Date of result (if you know):
         (b) If you filed any second motion, petition, or application, give the same information:
              (I)     Name of court:
                                       ---------------------------------
              (2) Docket of case number (if you know):
              (3) Date of filing (if you know):
              (4) Nature of the proceeding:
                                                 -----------------------------
              (5) Grounds raised:




              (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                         YesD            NoD
              (7) Result:
                             ------------------------------------
               (8) Date of result (if you know):
         (c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,
         or application?
               (1) First petition:             Yes   0    No   0
               (2)    Second petition:         Yes D      No D
         (d) [fyou did not appeal from the action on any motion, petition, or application, explain briefly why you did not:




                                                                                                                    Pagc40f    13
AU 24) (Rev. 09117)


  12.    For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
         laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
         supporting each ground. Any legal arguments must be submiued in a separate memorandum.

GROUND ONE:               Modification of mandatory minimums for repeat offenders. Title IV - Sentencing Reform- First Step
                          Act, Section 40 I. Reauce ana ResTriCt1:nnancea Sentencing for Pnor Drug FelOnies.

         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim,):
         Based on the revisions made to Title IV,Sentencing Reform, First Step Act of 2018 dated December 21,2018,
         my case qualifies for review for reduction of the originally imposed sentencing guidelines applied upon entrance
         of my plea of guilty to the previously stated charges on March 16, 2015. Given my prior criminal convictions this
         plea deemed me a repeat offender for whom the now obsolete sentencing guidelines were applied. The
         mandatory minimum applies at the time of sentencing of 20 years should reviewed for reduction to 15 years.

         Additionally, I believe my case should be reviewed to ensure any potentially inappropriate "stacking" of
         sentencing lengths for the various charges and the guidelines applied at the time are rectified and eliminated;
         resulting in further reduction of my originally imposed sentence.




         (b) Direct Appeal of Ground One:
              (I)     If you appealed from the judgment of conviction, did you raise this issue'?
                         YesD            No[2]
              (2)     If you did not raise this issue in your direct appeal, explain why:

              A direct appeal was not previously applied for.


         (c) Post-Conviction Proceedings:
              (I)     Did you raise this issue in any post-conviction motion, petition, or application'?
                         YesD            No[2]
              (2)     [fyou answer to Question (c)(1) is "Yes," state:
              Type of motion or petition:
              Namc ana location of the court where the motion or oetition was filed:


              Docket or case numbcr (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (3) Did you receive a hearing on your motion, petition, or application?
                         YesD            No[2]

                                                                                                                     Page 5 of 13
AO 24) (Rc,. 09/17)

              (4) Did you appeal from the denial of your motion, petition, or application?
                          YesD             N00
              (5) [fyour answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                          YesD             NoD


              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
              issue:




GROUND TWO:               Reduction of sentence. Retroactive application of the law changing the disparity between how
                          crack/powder cocaine offenses were punished - Tille IV - Sentencing Reform- First Step Act,
_______                  ~s~".{'.ti<>n
                                     404 A noIir",li(m.{)~ir-S"n1    "",ng
                                                                    ••       A'"                                               D
         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

        Based on the revisions made to Title IV, Sentencing Reform, First Step Act of 2018 dated December 21, 2018, my
        case qualifies for review for application of the the Fair Sentencing Act to lower my originally imposed sentence.




         (b) Direct Appeal of Ground Two:
              (I)      [fyou appealed from the judgment of conviction, did you raise this issue?
                          YesD             N00




                                                                                                                    Page 60f   13
AO 243 (Rev. 09/17)



              (2) If you did not raise this issue in your direct appeal, explain why:
              A direct appeal was not previously applied for.


         (c) Post-Conviction Proceedings:
              (I)      Did you raise this issue in any post-conviction motion, petition, or application?
                          YesD           N00
              (2)      [fyou answer to Question (c)(l) is "Yes," state:
              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (3) Did you receive a hearing on your motion, petition, or application?
                          YesD           N00
              (4) Did you appeal from the denial of your motion, petition, or application?
                          YesD           N00
              (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                          YesD           NoD
              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (7)      If your answer to Question (e)(4) or Question (e)(5) is "No," explain why you did not appeal or raise this
              issue:




                                                                                                                        Page 7 of 13
AO 243 (Rev. 09/17)

GROUND THREE:                Reduction of sentence due to improper application of the Armed Career Criminal Act (ACCA)
                             18 U.S.C. 924(e)

         Ca) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

         The Act requires imposition of a minimum 15-year term of imprisonment for recidivists convicted of unlawful
         possession of a fireann who have three prior state of federal convictions for violent felonies of serious dru9
         offenses. I only had two (2) prior state drug offense convictions. My plea in my first (currently serving) Federal
         case made three (3). I am requesting review of my case for the purpose of identifying this discrepancy; and
         rescission of ACCA application to my originally imposed sentence.




         (b) Direct Appeal of Ground Three:
              (1)     [fyou appealed from the judgment of conviction, did you raise this issue'!
                         YesD            NoW
              (2)     If you did not raise this issue in your direct appeal, explain why:
               A direct appeal was not previously applied for.


         (c) Post-Conviction Proceedings:
              (1)     Did you raise this issue in any post-conviction motion, petition, or application'!
                         YesD            NoW
              (2) If you answer to Question (c)(l) is "Yes," state:
              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (3) Did you receive a hearing on your motion, petition, or application'!
                         YesD            NoW
              (4) Did you appeal from the denial of your motion, petition, or application'!
                         YesD            NoW
              (5)     [ryour answer to Question (c)(4) is "Yes," did you raise the issue in the appeal'!
                         YesD            NoD


                                                                                                                     Pagc80f   13
AO 243 (Rev. 09/17)



              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the aooeal was filed:


               Docket or case number (if you know):
              Date of the court's decision:
               Result (attach a copy of the court's opinion or order, if available):




              (7)      If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
              issue:




GROUND FOUR:


         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




         (b) Direct Appeal of Ground Four:
               (I)     If you appealed from the judgment of conviction, did you raise this issue?
                          YesD           NoD
               (2) If you did not raise this issue in your direct appeal, explain why:




          (c) Post-Conviction Proceedings:
               (1) Did you raise this issue in any post-conviction motion, petition, or application?
                          YesD           NoD

               (2) ffyou answer to Question (c)(1) is "Yes," state:


                                                                                                                        Page 90f   13
AO 243 (Rev. 09/17)

              Type of molion or pelition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (3) Did you receive a hearing on your motion, petition, or application?
                          YesD           NoD
              (4) Did you appeal from the denial of your motion, petition, or application?
                          YesD           NoD
              (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                          YesD           NoD
              (6)      [fyour answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
              issue:




  13.    Is there any ground in this motion that you have not previously presented in some federal court? [fso, which
         ground or grounds have not been presented, and state your reasons for not presenting them:

         No




                                                                                                                  Page 10 of 13
AO 243 (Rev. 09/17)

  14.    Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the
         you are challenging?          YesD              No [(]
          [f"Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the
         issues raised.




  15.    Give the name and address, if known, of each attorney who represented you in the following stages of the
         judgment you are challenging:
         (a) At the preliminary hearing:
          Joseph F. Vallario III,ESQ       5210 Auth Rd, Suite 600, Suitland, MD20746

         (b) At the arraignment and plea:
          Joseph F. Vallario III,ESQ          5210 Auth Rd, Suite 600, Suitland, MD20746

         (c) At the trial:
          N/A

         (d) At sentencing:
          Joseph F. ValiariDIII,ESQ           5210 Auth Rd, Suite 600, Suitland, MD 20746

         (e) On appeal:
          N/A

         (1) In any post-conviction proceeding:
          Joseph F. Vallario III,ESQ        5210 Auth Rd, Suite 600, Suitland, MD20746

         (g) On appeal from any ruling against you in a post-conviction proceeding:

          N/A



  16.    Were you sentenced on more than one court of an indictment~ or on more than one indictment, in the same court
         and at the same time?              Yes D           No [{]

  17.    Do you have any future sentence tDserve after you complete the sentence for the judgment that you are
         challenging?              Yes D            No   [2]
         (a) If so, give name and location of court that impDsed the other sentence you will serve in the future:




          (b) Give the date the other sentence was imposed:
          (c) Give the length of the other sentence:
                                                       ---------------------------
          (d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or
          sentence to be served in the future?           Yes D          No D

                                                                                                                    Page II of 13
AO 243 (Rev. 09117)


  18.    TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
         why the one-year statute oflimitations as contained in 28 U.S.C. ~ 2255 does not bar your motion."

         My motions should be excepted from the the one-year period of limitation due to recent revisions to law,
         specifically the First Step Act of 2018, signed on December 21, 2018. In fair consideration for the revisions made
         and their applicability to my case I believe my motions should be accepted as they are being made as a result of
         govermental action taken subsequent to my conviction. Some of which specifically allow for retroactive
         consideration.




     "The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. ~ 2255,
     paragraph 6, provides in part that:
        A one-year period oflimitation shall apply to a motion under this section. The limitation period shall run
        from the latest of -
            (1) the date on which the judgment of conviction became final;
            (2) the date on which the impediment to making a motion created by governmental action in violation of
            the Constitution or laws of the United States is removed, if the movant was prevented from making such a
            motion by such governmental action;
            (3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
            been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
              review; or
               (4) the date on which the facts supporting the claim or claims presented could have been discovered
               through the exercise of due diligence.


                                                                                                                  Page 12 of 13
AO 24) (Rev. 09117)




Therefore. movant asks that the Court !!Tantthe followine relief:
Application of new sentencing guidelines for repeat offenders;reduction of sentence for time related to cocaine offense;
and elimination of any portion of sentence imposed due to "stacking" of time for various charges/obsolete guidelines.

or any other relief to which movant may be entitled.




                                                                     _OJ/A
                                                                      Signature of Attorney (if any)




I declare (or certify, verify, or state) under penalty ofpetjury that the foregoing is true and correct and that this Motion
under 28 U.S.C. ~ 2255 was placed in the prison mailing system on                     '3- d-. b - 1 q
                                                                                       (month, date, year)




Executed (signed) on   _':)_-_a.:_O_-_I_~                             (date)




                                                                    ~~-{;                   .. ,,~1) IJ~_
                                                                      Signature ofMovan~\


if the person signing is not movant, state relationship to movant and explain why movant is not signing this motion.




                                                                                                                    Page 13 of 13
